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NOT FOR PUBLICATION

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

_______________________________
                               :
ANTHONY E. PORTER,             :
                               :                  Civil Action
               Petitioner,     :                  No. 04-4415 (RBK)
                               :
               v.              :                  O P I N I O N
                               :
DEVON BROWN et al.,            :
                               :
               Respondents.    :
_______________________________:


APPEARANCES:

     ANTHONY E. PORTER
     #253983/499026B
     New Jersey State Prison
     Trenton, New Jersey 08625
     Petitioner Pro Se

     ROBERT D. BERNARDI, Burlington County Prosecutor
     CAROL LEE TAND, DEBORAH ANN SIEGRIST, Assistant Prosecutors
     New Courts Facility
     Mount Holly, New Jersey 08060
     Attorneys for Respondents


ROBERT B. KUGLER, United States District Judge

     On   September     7,    2004,     Petitioner     ANTHONY    E.   PORTER

(hereinafter     “Petitioner”)        filed   a     petition     (hereinafter

“Petition”) for a Writ of Habeas Corpus challenging his conviction

pursuant to 28 U.S.C. § 2254(a).         On April 18, 2005, Respondents

filed an answer (hereinafter “Answer”) seeking dismissal of the

Petition on merits.          On June 11, 2005, Petitioner filed his
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“Objections to the Answer” (hereinafter “Traverse”).

     For the reasons expressed below, the Court dismisses the

Petition and declines to issue a certificate of appealability.



                                  BACKGROUND

     Petitioner challenges a judgment of conviction entered in the

Superior Court of New Jersey, Burlington County, on July 16, 1993,

after    a   jury   found   him    guilty   of    felony-murder,    reckless

manslaughter, robbery, aggravated sexual assault, burglary, two

counts of thefts and attempted escape.1          See Pet. ¶¶ 1-4, Ans. ¶ 4.

Petitioner was sentenced to life imprisonment with a 30-year period

of parole ineligibility.          See id. ¶ 3, Ans. ¶ 3.           Petitioner

appealed, and on December 5, 1996, the Superior Court of New

Jersey, Appellate Division, reversed Petitioner's conviction with

respect to the charge of attempted escape, vacated one of the two



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     The brutal facts of Petitioner’s underlying criminal offense
are of little relevance to the issues at bar, and it would suffice
to summarize the key facts as follows: after their attempt to free
an inmate from a prison, Petitioner and his acquaintance fled the
scene and, during their escape, stopped to burglarize the home of
the victim, an elderly woman. See State v. Porter, A-776-00T4, at
*4-6 (N.J. Super. App. Div. Oct. 24, 2003). During the burglary,
Petitioner and his acquaintance robbed, jointly sexually assaulted
and then smothered the victim causing the victim’s death.       Id.
After disposing of the victim’s body in the wooden area, Petitioner
and his acquaintance bragged about the events of the crime to
numerous people and asked a few of these people to falsely testify
for Petitioner and his acquaintance so Petitioner and his
acquaintance would get alibis. Id. at 6-9. Petitioner and his
acquaintance were tried, convicted and sentenced separately. Id.

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theft counts, merged the remaining theft count with the robbery-

related one and affirmed the rest of Petitioner's conviction in all

other respects.    See Ans., Ex. Ra50.      The New Jersey Supreme Court

denied Petitioner’s petition for certification on February 25,

1997.    See Pet. ¶ 9, Ans. ¶ 9.

     Petitioner    also   filed   two    petitions   for   post-conviction

relief. The first petition was denied by the Superior Court of New

Jersey on July 28, 2000,2 see Pet. ¶ 11, Ans. ¶ 10, and the

Appellate Division affirmed that denial on October 24, 2003.            See

Pet. ¶ 11, Ans. ¶ 11.

     On September 7, 2004, Petitioner executed the instant § 2254

Petition.     See Docket Entry No. 1. The Clerk received it on

September 14, 2004, with Petitioner's           affidavit of poverty in

support of his application to proceed in forma pauperis.            See id.

The Court notified Petitioner of the consequences of filing such a

Petition under the Antiterrorism and Effective Death Penalty Act,

and gave Petitioner an opportunity to withdraw the Petition and

file one all-inclusive Petition pursuant to Mason v. Meyers, 208

F.3d 414 (3d Cir. 2000).      See Docket Entry No. 2.

     In his Petition, Petitioner raises four grounds in support of

     2

     Neither Petitioner nor Respondents provide this Court with
sufficient information about Petitioner's second petitions for
post-conviction relief.   See Pet. ¶ 11, Ans. ¶ 11.       However,
Petitioner's second petitions for post-conviction relief is of not
consequence to the case at bar since it was limited to the issues
already addressed during Petitioner's direct appeal and his first
post-conviction relief proceedings.

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his § 2254 application:

(I)     “Ineffective assistance of trial and appellate counsel:

failure   to   call   on/or    interview   alibi     witness   [by    the   trial

counsel, and] appellate counsel's failure to submit Petitioner's

pro se brief.”    Pet. ¶ 12.

(II)   “Ineffective    assistance    of    trial    and   appellate    counsel:

failure to challenge the DNA testing.”             Id.

(III) “Ineffective assistance of trial and appellate counsel:

failure to challenge the inconsistent verdicts.”               Id.

(IV)   “Ineffective    assistance    of    trial    and   appellate    counsel:

failure to seek the accomplice liability charge [plus Petitioner's]

trial court[] fail[ure] to provide the jury with an accomplice

liability instruction [sua sponte].”          Id.



                              STANDARD OF REVIEW

       Section 2254(a) of Title 28 of the United States Code grants

federal district courts subject matter jurisdiction to entertain a

claim that a state prisoner is in custody in violation of the

Constitution, laws or treaties of the United States.                    Section

2254(a) provides, in pertinent part:

             . . . a district court shall entertain an
            application for a writ of habeas corpus in
            behalf of a person in custody pursuant to the
            judgment of a State court only on the ground
            that he is in custody in violation of the
            Constitution or laws or treaties of the United
            States.


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28 U.S.C. § 2254(a).

     A   habeas   corpus   petition   must   meet   “heightened    pleading

requirements.”     McFarland v. Scott, 512 U.S. 849, 856 (1994)

(citing 28 U.S.C. § 2254, Rule 2©)).         The petition must “specify

all the grounds for relief which are available to the petitioner,”

and set forth “the facts supporting each of the grounds thus

specified.”     See Rule 2(c) of the Rules Governing Section 2254

Cases.

     Significantly, “it is not the province of a federal habeas

court    to   reexamine    state-court    determinations    on    state-law

questions.”    Estelle v. McGuire, 502 U.S. 62, 67-68 (1991); Barry

v. Bergen County Probation Dep't, 128 F.3d 152, 159 (3d Cir. 1997),

cert. denied, 522 U.S. 1136 (1998).       A federal district court must

dismiss a habeas corpus petition, summarily or otherwise, if it

does not assert a constitutional violation.           Siers v. Ryan, 773

F.2d 37, 45 (3d Cir. 1985), cert. denied, 490 U.S. 1025 (1989);

Rule 4 of the Rules Governing Section 2254 Cases.3            “If a state

prisoner alleges no deprivation of a federal right, § 2254 is

simply inapplicable.       It is unnecessary in such a situation to

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     Rule 4(c) provides: “If it plainly appears from the face of
the petition and any exhibits annexed to it that the petitioner is
not entitled to relief in the district court, the judge shall make
an order for its summary dismissal and cause the petitioner to be
notified.” The Advisory Committee Notes to Rule 4 emphasize that
“‘notice’ pleading is not sufficient, for the petition is expected
to state facts that point to a ‘real possibility of constitutional
error.’” (citing Aubut v.    Maine, 431 F.2d 688, 689 (1st Cir.
1970)).

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inquire whether the prisoner preserved his claim before the state

courts.”    Engle v. Isaac, 456 U.S. 107, 120 n.19 (1982).                    A

district court is not permitted to transform a ground asserting a

violation of state law into a ground raising a violation of the

federal Constitution.4     Nor may the court consider a federal claim

that can be discerned from the facts of the case but is not

asserted in the petition as a ground.5

     Furthermore, in its examination of a claim, a district court

must give deference to determinations of state courts.           Duncan v.

Morton, 256 F.3d 189, 196 (3d Cir.), cert. denied, 534 U.S. 919

(2001); Dickerson v. Vaughn, 90 F.3d 87, 90 (3d Cir. 1996).



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     See also Engle, 456 U.S. at 119-20 & n.19 (insofar as
petitioners simply challenged the correctness of the self-defense
instructions under state law, their petitions alleged no
deprivation of federal rights, and § 2254 was inapplicable);
Kontakis v. Beyer, 19 F.3d 110, 116-17 & n.10 (3d Cir.), cert.
denied, 513 U.S. 881 (1994) (where petitioner asserted in § 2254
petition that the exclusion of testimony violated his rights under
state law, federal court may not consider ground, not set forth in
the petition, that exclusion of the testimony violated his federal
due process rights).
     5

     See also Withrow v. Williams, 507 U.S. 680, 695-96 (1993)
(where habeas petition raised claim that the police had elicited
petitioner’s statements without satisfying Miranda, the district
court erred when it “went beyond the habeas petition and found the
statements [petitioner] made after receiving the Miranda warnings
to be involuntary under due process criteria”); Baker v. Barbo, 177
F.3d 149, 156 n.7 (3d Cir. 1999) (where petition contains ground
asserting the ineffective assistance of counsel during plea
negotiations and trial, the district court may not consider ground,
evident from the facts but not raised in the petition, that counsel
was ineffective by failing to advise petitioner that he faced a
longer sentence by appealing the conviction).

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Federal courts “must presume that the factual findings of both

state trial and appellate courts are correct, a presumption that

can only be overcome on the basis of clear and convincing evidence

to the contrary.”      Stevens v. Delaware Correctional Center, 295

F.3d 361, 368 (3d Cir. 2002); see also 28 U.S.C. § 2254(e)(1) (“The

applicant shall have the burden of rebutting the presumption of

correctness by clear and convincing evidence”).

     Where a federal claim was “adjudicated on the merits” in state

court proceedings, § 2254 does not permit habeas relief unless

adjudication of the claim

           (1) resulted in a decision that was contrary
           to, or involved an unreasonable application
           of, clearly established Federal Law, as
           determined by the Supreme Court of the United
           States; or

           (2) resulted in a decision that was based on
           an unreasonable determination of the facts in
           light of the evidence presented in the State
           court proceeding.

28 U.S.C. § 2254(d) (emphasis supplied).6



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     “An ‘adjudication on the merits’ has a well settled meaning:
a decision finally resolving the parties' claims, with res judicata
effect, that is based on the substance of the claim advanced,
rather than on a procedural, or other, ground.” Rompilla v. Horn,
355 F.3d 233, 247 (3d Cir. 2004) (quoting Sellan v. Kuhlman, 261
F.3d 303, 311 (2d Cir.2001)).       A state court may render an
adjudication or decision on the merits of a federal claim by
rejecting the claim without any discussion whatsoever. Rompilla,
355 F.3d at 247.    However, if an examination of a state court
opinion reveals that the state court did not decide a federal claim
on the merits, the standards of review set out in § 2254(d)(1) do
not apply. Id. at 248.

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     A decision is “‘contrary to’ a Supreme Court holding if the

state court ‘contradicts the governing law set forth in [the

Supreme Court's] cases’ or if it ‘confronts a set of facts that are

materially indistinguishable from a decision of the [Supreme] Court

and nevertheless arrives at a [different] result.”                         Rompilla v.

Horn, 355 F.3d 233, 250 (3d Cir. 2004) (quoting Williams v. Taylor,

529 U.S. 362, 405-06 (2000)).

     Under the “‘unreasonable application’ clause, a federal habeas

court may grant the writ if the state court identifies the correct

governing legal principle from the [Supreme] Court’s decisions but

unreasonably applies that principle to the facts of the prisoner’s

case.”      Williams, 529 U.S. at 413.                 Whether a state court’s

application    of   federal    law    is       “unreasonable”       must    be   judged

objectively; therefore, an application may be incorrect yet still

not unreasonable.       Id. at 409-10.

     Lastly, if the petitioner did not present certain ground

(hereinafter “Unexhausted Grounds”) to the New Jersey courts on

direct appeal or in his petition for post conviction relief and the

claim is not exhausted, this Court will not dismiss the petition as

a mixed petition if none of these Unexhausted Grounds presents a

colorable    federal    claim.       See       28     U.S.C.    §   2254(b)(2)     (“An

application for a writ of habeas corpus may be denied on the

merits, notwithstanding the failure of the applicant to exhaust the

remedies    available    in   the    courts      of    the     State”);    Lambert   v.


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Blackwell, 134 F.3d 506, 515 (3d Cir. 1997) (district court may

deny an unexhausted petition on the merits under § 2254(b)(2) “if

it is perfectly clear that the applicant does not raise even a

colorable federal claim”).



                                DISCUSSION

A. Claims Alleging Ineffective Assistance of Counsel

     In all his Grounds, Petitioner alleges that he was deprived of

effective assistance of counsel, either during his trial or during

his direct appeal, in violation of Petitioner’s Sixth Amendment

rights.

     The Sixth Amendment, applicable to states through the Due

Process Clause of the Fourteenth Amendment, guarantees the accused

the “right . . . to have the Assistance of Counsel for his

defense.”    U.S. Const. amend. VI.        The right to counsel is the

right to the effective assistance of counsel, and counsel can

deprive a defendant of the right by failing to render adequate

legal assistance.    See Strickland v. Washington, 466 U.S. 668, 686

(1984).

     A claim that counsel’s assistance was so defective as to

require reversal of a conviction has two components, both of which

must be satisfied.     See Strickland, 466 U.S. at 687.         First, the

defendant must “show that counsel’s representation fell below an

objective   standard   of   reasonableness.”       Id.   at   687-88.    “A


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convicted defendant making a claim of ineffective assistance must

identify the acts or omissions of counsel that are alleged not to

have been the result of reasonable professional judgment.”             Id. at

690.    The court must then determine whether, in light of all the

circumstances at the time, the identified errors were so serious

that they were outside the wide range of professionally competent

assistance.     See id.     In other words, Petitioner shall state a

claim sufficient enough to rebut the presumption of his counsel’s

competence by proving that Petitioner’s representation was: (a)

unreasonable under the prevailing professional norms; and (b) not

a sound strategy.    See Kimmelman v. Morrison, 477 U.S. 365 (1986).

Second,   the   defendant   must   show   that   “there   is   a   reasonable

probability that, absent the errors, the factfinder would have had

a reasonable doubt respecting guilt.” Strickland, 466 U.S. at 695.

       Finally, since the Fourteenth Amendment guarantees a criminal

defendant pursuing a first appeal as of right certain “minimum

safeguards necessary to make that appeal ‘adequate and effective,’”

Evitts v. Lucey, 469 U.S. 387, 392 (1985) (quoting Griffin v.

Illinois, 351 U.S. 12, 20 (1956)), including the right to the

effective assistance of counsel, id. at 396, the ineffective

assistance of counsel standard of Strickland, 466 U.S. at 686,

applies to a claim that appellate counsel was ineffective.               See

Smith v. Robbins, 528 U.S. 259, 285 (2000); United States v. Cross,

308 F.3d 308, 315 (3d Cir. 2002).


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       It shall be noted, however that, while defense counsel has a

constitutionally imposed duty to consult with the defendant about

whether to appeal when “there is reason to think either (1) that a

rational defendant would want to appeal (for example, because there

are nonfrivolous grounds for appeal), or (2) that this particular

defendant reasonably demonstrated to counsel that he was interested

in appealing,” Roe v. Flores-Ortega, 528 U.S. 470, 480 (2000). The

term   “‘consult’   convey[s]   a   specific   meaning   -   advising   the

defendant about the advantages and disadvantages of taking an

appeal, and making a reasonable effort to discover the defendant’s

wishes,” Flores-Ortega at 478, “it is a well established principle

that counsel decides which issues to pursue on appeal,” Sistrunk v.

Vaughn, 96 F.3d 666, 670 (3d Cir. 1996), and the appellate counsel

is not constitutionally required to raise every nonfrivolous claim

requested by the defendant.     See Jones v. Barnes, 463 U.S. 745, 751

(1983).    Appellate counsel “need not (and should not) raise every

nonfrivolous claim, but rather may select from among them in order

to maximize the likelihood of success on appeal.”                Smith v.

Robbins, 528 U.S. 259, 288 (2000).



B. Petitioner's Ground One Claims

       In his Ground One, Petitioner asserts that he was provided

with an “[i]neffective assistance of trial and appellate counsel

[because of the] failure to call on/or interview alibi witness [by


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the trial counsel, and because of the] appellate counsel's failure

to submit Petitioner's pro se brief.”            Pet. ¶ 12.      Petitioner's

Petition clarifies that

       [t]he alibi witness would've testifies that Petitioner
       was not involved.7 Also, Petitioner supplied documents
       that would have supported his issues and[,] because
       [Petitioner's] pro[]se brief was never submitted, . . .
       the[se] issues . . . were never added to the record or
       heard.

Id.    In his Traverse, Petitioner relies on Kimmelman v. Morrison,

477 U.S. 365 (1986), Evitts v. Lucey, 469 U.S. 387 (1985), and

McMann     v.   Richardson,   397   U.S.   759   (1970),8   in    support   of

Petitioner's Ground One claims.        See Traverse at 22-28.

       The issue of testimony of the alibi witness, Mrs. Hazel

Lightcap (hereinafter “Witness”), was examined under the Strickland

test by Petitioner's post-conviction relief court and the Superior

Court of New Jersey, Appellate Division, and found without merit.

Specifically, Petitioner's post-conviction relief court concluded

that

       there [was] no prima facie showing that [the Witness]
       kn[ew] anything about [the events at issue] or that [the
       Witness] could have been helpful or . . . able to provide
       a [viable] alibi. [Petitioner's] general statement that

       7

     The Court presumes that Petitioner wished to state “[t]he
alibi witness would've testifies that Petitioner was not involved
in the activities on which Petitioner's conviction was based.”
       8

     Petitioner also relies on various cases state cases and
federal court of appeals cases having no relevance to the case at
bar under the standard of review as explained supra in this
Opinion.

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     there’s [the Witness but Petitioner's] trial lawyer
     didn’t talk to her enough and[,] even though her name was
     on the witness list[,] he never called her, there’s
     nothing that takes it beyond that to show that not
     bringing [the Witness] around was . . . some kind of
     substandard performance on the part of any lawyer, nor
     that if she had been interviewed [more extensively] or
     that she had been brought in that it could possible have
     made any difference in the case [in view of the
     overwhelming evidence against Petitioner].

Ans., Ex. 18T11-14 to 12-17.       The New Jersey Appellate Division

affirmed this finding and similarly concluded that,

     [i]n light of [Petitioner]’s inculpatory statements to
     various individuals placing himself at the crime scene
     and describing his participation in the events, [and] the
     testimony of two witnesses that [Petitioner] attempted to
     induce them to provide false alibi testimony [for
     Petitioner], and [Petitioner]’s possession of items
     stolen from the victim, there was no unprofessional error
     in failing to pursue or call [the Witness] as an alibi
     witness and, even if there was, it would not have changed
     the outcome. Further, [Petitioner] produced no affidavit
     from his trial counsel that he did not interview [the
     Witness], nor did he produce an affidavit from [the
     Witness] setting forth what her testimony would have
     been.9

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     Petitioner, in his apparent bid to respond to the Appellate
Division's finding that his Ground One assertions were without
merit in view of lack of affidavit from the Witness, attached to
his Traverse a “To Whom It May Concern” statement from the Witness
dated May 28, 2005. Petitioner, however, cannot rely on any other
instrument but Petitioner’s pleading to set forth all relevant
claims and facts. See Mayle v. Felix, 125 S. Ct. 2562, 2566, 2570
(2005).

     Rule 2(c) of the Rules Governing Habeas Corpus Cases
     requires a . . . detailed statement. The habeas rule
     instructs the petitioner . . . to "state the facts
     supporting each ground.” . . . A prime purpose of Rule
     2(c)'s demand that habeas petitioners plead with
     particularity is to assist the district court in
     determining whether the State should be ordered to ‘show
                                                    (continued...)

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Ans., Ex. Ra715.

     Since these findings are neither contrary to the Supreme

Court's holding in Strickland nor rendered on the basis of the set

of facts that are materially indistinguishable from a decision of

the Supreme Court but led to a different result, the decision of

the State courts in Petitioner's case should be affirmed.                       See

Rompilla, 355 F.3d at 250 (quoting Williams, 529 U.S. at 405-06);

cf. United States v. Gray, 878 F.2d 702, 711 (3d Cir. 1989) (noting

that,       to   succeed   on   claim   alleging   a   failure   of   counsel    to

investigate potential witnesses, petitioner must show how their


        9
      (...continued)
     cause why the writ should not be granted.”       § 2243.
     Under Habeas Corpus Rule 4, if “it plainly appears from
     the petition . . . that the petitioner is not entitled to
     relief in district court,” the court must summarily
     dismiss the petition without ordering a responsive
     pleading. If the court orders the State to file an
     answer,   that   [answer]   must  “address   [only]   the
     allegations in the petition.” Rule 5.

Id.   Any instrument other than pleadings, be it a traverse or
motion for reconsideration, or an exhibit attached to such
submissions, is not a proper vehicle to set forth Petitioner’s
claims and facts. See id. Moreover, the very facts of execution
of the statement by the Witness contradicts Petitioner's claims
that such statement was not attainable by Petitioner during
Petitioner's appellate and post-conviction relief proceedings.
Finally, since the Witness' statement unambiguously indicates that
(a) the Witness and her husband were requested to attend the court
by Petitioner's trial attorney, (b) notified by the attorney that
the Witness and her husband “would [be] need[ed] a[s] witnesses,”
and (c) “had to sit outside the courtroom for . . . 3 days,” it
appears that Petitioner's trial counsel intended to call the
Witness but, due to the dynamics of the trial, made a strategic
choice not to do so, thus acting within the parameters expressly
permitted by the Strickland test.


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testimony would have been favorable and material); see also United

States v. Valenzuela-Bernal, 458 U.S. 858, 867 (1982).

     Petitioner's reliance of Kimmelman, 477 U.S. 365, Evitts, 469

U.S. 387, and McMann, 397 U.S. 759, is misplaced since none of

these cases is relevant to the issues at bar.              In Kimmelman, the

Supreme     Court   determined    that     the     legal     assistance     was

constitutionally    deficient    when    the    attorney    objected   to   the

introduction of evidence seized without a search warrant long after

the deadline for such objection expired.           See Kimmelman, 477 U.S.

365. The Supreme Court reasoned that a failure to act timely could

not be justified by strategic considerations.              See id.

     In Evitts, the Supreme Court found that a petitioner had not

received a fair legal assistance when the petitioner's counsel

failed to file a statement of appeal that was unconditionally

required under the procedural rules (causing dismissal of the

appeal) See Evitts, 469 U.S. 387.              The Supreme Court similarly

reasoned that a failure to file a procedurally mandated document

could not be justified by strategic considerations.              See id.

     Finally, in McMann, 397 U.S. 759, the Supreme Court examined

the issue of legal assistance within the framework of a guilty plea

and held that prisoners were bound by their pleas and convictions

unless they alleged and proved incompetence of counsel sufficient

to establish that the pleas were not knowingly and intelligently

made.     Since the case at bar involves neither a plea issue nor a


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failure to obey express procedural rules or express time frames,

the cases cited by Petitioner are inapposite to the issues at bar.

Since it appears that Petitioner's counsel decision not to call the

Witness was a reasonable exercise of legal strategy, Petitioner's

Ground One claims should be dismissed.10 See Bell v. Cone, 535 U.S.

685 (2002) (holding that an attorney's decision not to call any

witnesses or make any closing argument on behalf of his client was

a strategic choice and did not indicate ineffective assistance).



B. Petitioner's Ground Two Claims

     In his Ground Two, Petitioner asserts that his trial and

appellate counsel were ineffective because of their “failure to

challenge the DNA testimony.” Pet. ¶ 12. Specifically, Petitioner



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     Petitioner's claim that his Sixth Amendment rights were
violated when his “appellate counsel's fail[ed] to submit
Petitioner's pro se brief” are not addressed in this Opinion since
neither the Sixth Amendment nor the holding of Strickland or its
progeny indicates that the term “effective legal assistance”
implies any mailing obligations on the part of counsel rather than
legal advice. Petitioner's Petition and Traverse are silent as to:
(a) why Petitioner could not submit his pro se brief to the state
court on Petitioner's own, (b) any allegations that Petitioner’s
appellate counsel prevented Petitioner from filing Petitioner’s pro
se brief, and (c) what “issues” raised in Petitioner’s brief were
“never added to the record or heard,” and how these “issues” could
have affected the outcome of Petitioner's appeal.    See Pet. ¶ 12.
Therefore, this part of Petitioner's Ground One claim is subject to
dismissal for failure to state any pertinent facts. See Rule 2(c)
of the Rules Governing Section 2254 Cases (stating that the
petition must “specify all the grounds for relief which are
available to the petitioner,” and set forth “the facts supporting
each of the grounds thus specified”).

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alleges that “the DNA testimony was confusing and misleading”

because (a) there were “multiple defendants” involved in the

offence,11 and (b) the DNA tested did not match Petitioner.12           Id.

     Petitioner could not have been prejudiced, within the meaning

of the second prong of the Strickland test, by any testimony

lending credence to Petitioner's defense, in this case, by the

testimony verifying that Petitioner's DNA did not match the DNAs

determined as a result of the test.         Therefore, Respondents are

correct in pointing out that “[P]etitioner was not prejudiced

[because] the jury heard the testimony that petitioner was not

scientifically linked to the crimes.”        Ans. at 60.

     Petitioner disagrees with Respondents' argument basing his

disagreement on Petitioner's conclusion that, had the DNA testimony

been contested, “[P]etitioner [w]ould have at least been cleared of

Felony[-]Murder - Aggravated Sexual Assault [charges], and [thus,

Petitioner's] counsel should have requested [an] independent test.”

Traverse at 53-54.      Petitioner’ conclusion compares apples and


     11

     This Court presumes that Petitioner’s usage of the term
“multiple defendants” refers to the fact that the victim was raped
by both Petitioner and his acquaintance, since Petitioner was the
sole defendant during his trial. See State v. Porter, A-776-00T4,
at *4-6 (N.J. Super. App. Div. Oct. 24, 2003).
     12

      Although Petitioner failed to raise this claim to the state
courts, this Court can still render its decision with respect to
Petitioner's Ground Two since these allegations do not present a
colorable federal claim. See 28 U.S.C. § 2254(b)(2); Lambert v.
Blackwell, 134 F.3d at 515.

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oranges.    With or without any other testing/legal contest of the

DNA testimony provided, Petitioner could not have fared any better

with respect to the DNA issue than under the State’s test, since

the State's test provided Petitioner with the most favorable

evidence.   The fact that the jury chose to believe other evidence

and convict petitioner cannot indicate that Petitioner's counsel

was ineffective by allowing a testimony favorable to Petitioner's

interest, and Petitioner cannot create either an “unsound legal

judgement” or a “prejudice to Petitioner” out of Petitioner's

unwarranted disappointment with (a) Petitioner's counsel inability

to win the case on the basis of a single exculpatory fact while

facing overwhelmingly inculpatory evidence, or (b) Petitioner's

appellate counsel decision not to attack this exculpatory fact in

Petitioner's appeal.      Therefore, Petitioner's Ground Two has no

merit and should be dismissed.



C. Petitioner's Ground Three Claims

     In his Ground Three, Petitioner asserts that his trial and

appellate counsel were ineffective because they failed to challenge

Petitioner’s    “inconsistent”     verdicts.13       See    Pet.    ¶   12.


     13

     Although Petitioner did not raise this issue during
Petitioner's appeal and post-conviction relief proceedings, this
Court can still render its decision with respect to Petitioner's
Ground Three since these allegations does not present a colorable
federal claim. See 28 U.S.C. § 2254(b)(2); Lambert, 134 F.3d at
                                                   (continued...)

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Petitioner's Petition clarifies that, in Petitioner's opinion,

“[t]he jury returned two different verdicts for one crime [since]

the jury was instructed on the charges of felony-murder and the

underlying felonies. [The verdicts] were also inconsistent [with]

the    lesser      included      offenses      of    aggravated       and   reckless

manslaughter.”14         Id.   While Petitioner’s Petition and Traverse do

not clarify what particular inconsistency Petitioner has in mind,

it    appears     that    Petitioner   either       (a)   finds   a   felony-murder

conviction       incompatible      with     convictions      based     on   reckless

manslaughter, robbery, aggravated sexual assault or burglary, or

(b) believes that the charge of aggravated/reckless manslaughter

has to be a lesser-included offense for the purposes of a felony-

murder charge.

       Petitioner errs.        Petitioner was found guilty on the charges

of felony-murder, reckless manslaughter, robbery, aggravated sexual

       13
            (...continued)
515.
       14

     Petitioner's Traverse further states that, “[b]ecause[] there
is no way of knowing[] why the jurors reached the verdicts[] they
reach[ed,] Petitioner was prejudiced[] and received ineffective
assistance of counsel.”    Traverse at 47, 50.     This contention
appears to be similar to Petitioner’s claim addressed supra, see
this Opinion, pages 17-18, since Petitioner tends to equate the
fact that he was convicted on various charges with ineffectiveness
of his counsel. However, effectiveness of legal assistance is not
related in any way to the issue of whether the defendant was
convicted at all or convicted on certain charges. See Strickland,
466 U.S. at 686, 695; see also Salaam v. Brown, 2006 U.S. Dist.
LEXIS 49848, at 35-38 (D.N.J. July 21, 2005) (dismissing claims
where the petitioner alleged ineffective legal assistance on the
basis of the fact that Petitioner was convicted).

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assault and burglary.         See Pet. ¶¶ 1-4, Ans. ¶¶ 4, 11.                     The

felony-murder    statute,     N.J.S.A.        2C:11-3a(3),       provides   that    a

“criminal homicide constitutes murder when . . . the actor is

engaged in the commission of . . . or attempting to commit robbery,

sexual assault, [or] burglary, . . . , and in the course of such

crime . . . , any person causes the death of a person other than

one of the participants . . . .”              Since the statute (a) expressly

predicates the murder conviction on commission of the very crimes

that Petitioner was found guilty of, that is, robbery, aggravated

sexual assault and burglary; and (b) expressly omits any references

to the crime of manslaughter, the statutory language of the felony-

murder statute (a) allows Petitioner's jury to find Petitioner

guilty on the charges of felony-murder only if the jury can reach

a guilty verdict with respect to robbery, aggravated sexual assault

or burglary, and (b) prevents Petitioner's jury from finding that

Petitioner's    felony-murder        offense       encompassed         Petitioner's

aggravated/reckless        manslaughter,        even    though    Petitioner      was

responsible    for   the    death   of   “only”        one   victim.     Acting    in

compliance with the mandate of N.J.S.A. 2C:11-3a(3), Petitioner's

jury found Petitioner guilty of felony-murder on the basis of

predicated offenses of burglary, robbery and sexual assault,15 see


     15

     Respondents correctly note that, under United States v.
Powell, 469 U.S. 57 (1984), inconsistent verdicts cannot be equated
with either wrongful or illegal ones. See Ans. at 62. This Court,
                                                     (continued...)

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Ans., Ex. Ra44, Ra45-48, 17T24-1 to                25-24, and--separately--of

manslaughter, the offense governed by N.J.S.A. 2C:11-4b(1).16                     See

id.      Since the verdicts reached by Petitioner's jury were not

inconsistent or contradictory in any way, Petitioner's assertions

that his trial and appellate counsel were ineffective for failing

to    label        consistent   verdicts    “inconsistent”       cannot   meet    the

Strickland test: such challenge by Petitioner’s trial and appellate

counsel would be meritless and, perhaps, even frivolous.                          See

Strickland v. Washington, 466 U.S. at 687-90.



C. Petitioner's Ground Four Claims

       Finally, in his Ground Four, Petitioner assets that (a) his

trial        and   appellate    counsel    did   not   provide    Petitioner     with

effective assistance because they failed to seek the accomplice



        15
      (...continued)
however, does not need to reach this issue since the language of
N.J.S.A. 2C:11-3a(3) and N.J.S.A. 2C:11-4b(1), read either
separately or in conjunction, renders the verdicts actually reached
in Petitioner's case consistent.
       16

     It appears that Petitioner is confused about the nature of
conviction for a crime and a sentence imposed, since it is common
to merge different death-related counts for the purpose of
sentencing if the crimes caused death of one victim.           This
sentencing practice, however, is not at issue in Petitioner's case,
since Petitioner's sentencing court sentenced Petitioner to life
imprisonment (with 30 years of parole ineligibility) for the crime
of felony-murder (predicated on the sexual assault), and merged all
other death-related counts with this life sentence. (Petitioner’s
sentences based on all other offenses unrelated to the victim's
death were imposed to run concurrently with the life sentence.)

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liability charge,17 see Pet. ¶ 12, and (b) Petitioner's trial court

erred by not providing Petitioner's jury with the accomplice

liability instructions sua sponte.18       See id.

     17

     Since Petitioner’s appellate counsel could not possibly seek
any jury charge, this Court presumes that Petitioner intended to
assert that his appellate counsel was ineffective by failing to
challenge the trial counsel’s decision not to seek the charge.
     18

     This Court notes that this issue was determined to be
procedurally barred by the Appellate Division. Petitioner could,
but did not, raise this issue during his direct appeal, thus
causing the procedural bar.    Under Rule 3:22-2, post-conviction
relief is available to a defendant on four grounds: (a) substantial
denial in the conviction proceedings of a defendant's rights under
the federal constitution, state constitution or state law; (b) lack
of jurisdiction by the court imposing sentence; (c) imposition of
an improper sentence; and (d) any other habeas corpus, common-law
or statutory grounds for a collateral attack.       See R. 3:22-2.
Since post-conviction relief is a safeguard that ensures that a
defendant was not unjustly convicted; it is the state analogue to
the federal writ of habeas corpus, see State v. Preciose, 129 N.J.
451, 459 (1992), post-conviction relief provides a defendant with
a means to challenge the legality of a sentence or final judgment
of conviction which could not have been raised on direct appeal.
See In re Santiago, 104 N.J. Super. 110, 115 (Law Div. 1968), aff'd
o.b., 107 N.J. Super. 243 (App. Div.1969). By failing to raise an
issue resolvable during his direct appeal, petitioner risks barring
himself from a post-conviction relief with respect to this issue,
thus preventing state exhaustion and precluding federal habeas
review. To avoid the bar and demonstrate cause for a procedural
default, petitioner must show that “some objective factor external
to the defense impeded counsel's efforts to comply with the State's
procedural rule.” Murray v. Carrier, 477 U.S. 478, 488 (1986). To
demonstrate actual prejudice, Petitioner must show “not merely that
the errors at . . . trial created a possibility of prejudice, but
that they worked to his actual and substantial disadvantage,
infecting his entire trial with error of constitutional
dimensions."   Id. at 494.    Alternatively, a federal court may
excuse a procedural default if the petitioner demonstrates that
failure to review the claim will result in a fundamental
miscarriage of justice. See Edwards, 529 U.S. at 451; Wenger v.
Frank, 266 F.3d 218, 224 (3d Cir. 2001).        The miscarriage of
                                                     (continued...)

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     Petitioner      Ground   Four      claims    are    without    merit      since

questions relating to jury charges are normally matters of state

law and not cognizable in federal habeas review.                   See Engle v.

Isaac, 456 U.S. 107 (1982); Henderson v. Kibbe, 431 U.S. 145

(1977); Zettlemoyer v. Fulcomer, 923 F.2d 284, 309 (3d Cir.), cert.

denied, 502 U.S. 902 (1991); Grecco v. O'Lone, 661 F. Supp. 408,

412 (D.N.J. 1987).      Only where the jury instruction, as given, is

“so prejudicial as to amount to a violation of due process and

fundamental fairness will a habeas corpus claim lie.”                    Id.    “The

fact that [an] instruction was allegedly incorrect under state law

is not a basis for habeas relief.”               Estelle, 502 U.S. at 71-72.

Rather, the district court must consider “'whether the ailing

instruction   by    itself    so   infected      the    entire   trial   that    the

resulting conviction violates due process,' . . . not merely

whether   'the     instruction     is   undesirable,       erroneous,     or    even

universally condemned.'”       Henderson, 431 U.S. at 154 (quoting Cupp



     18
      (...continued)
justice exception applies only in extraordinary cases “where a
constitutional violation has probably resulted in the conviction of
one who is actually innocent.” Murray, 477 U.S. at 496. Actual
innocence,   however,    means   factual   innocence,   not   legal
insufficiency. See Bousley v. United States, 523 U.S. 614, 623
(1998). To establish actual innocence, a petitioner must prove
that it is more likely than not that no reasonable juror would have
convicted him on the basis of evidence presented. See Schlup v.
Delo, 513 U.S. 298, 326 (1995); Werts, 228 F.3d at 193.       While
Petitioner's application is silent as to any facts that could be
qualified as valid excuse overcoming the procedural bar, this Court
nonetheless addresses the issue since the matter does not present
a colorable federal claim.

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v. Naughten, 414 U.S. 141, 146-47 (1973)).           Moreover, “the burden

of demonstrating that an erroneous instruction was so prejudicial

that it will support a collateral attack on the constitutional

validity of a state's court judgment is even greater than the

showing required to establish plain error on direct appeal,” id.,

and challenge to his jury instructions based on omission of a

“lesser-included offense” are subject to even more rigid scrutiny.

     In Beck v. Alabama, 447 U.S. 625, 635 (1980), the Supreme

Court held that, in a capital case, a trial court must give a

requested charge on a lesser included offense where it is supported

by the evidence.    See 447 U.S. at 635; Gilmore v. Taylor, 508 U.S.

333, 360 (1993).        The Supreme Court, however, left open the

question of whether instructions on lesser included offenses were

required in non-capital cases.           See id.     Later on, the Third

Circuit (a) held that trial courts should charge a lesser included

offense if the jury could convict a defendant of a crime more

serious than the jury believes the defendant actually committed

(because   the   jury   believes   the   defendant    had   some   degree   of

involvement in the offense and, thus, should not be set free), see

Vujosevic v. Rafferty, 844 F.2d 1023, 1027 (3d Cir. 1988) (citing

Keeble v. United States, 412 U.S. at 212-13), but (b) observed

that, since it is unclear whether due process requires instruction

on a lesser included offense in non-capital cases, the federal

court should conduct its analysis with the relevant state law in


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mind.     See Geschwendt v. Ryan, 967 F.2d 877, 884 n. 13 (relying on

Schad v. Arizona, 501 U.S. 624 (1991)), cert. denied, 506 U.S. 977

(1992).

     New Jersey law, similarly to the holding of Beck v. Alabama,

447 U.S. at 635, provides that an instruction as to a lesser

offense is warranted only where the facts provide a rational basis

for such a conviction.      See N.J.S.A. 2C:1-8(e) ("the court shall

not charge the jury with respect to a lesser included offense

unless there is a rational basis for a verdict convicting the

defendant of the lesser included offense"); State v. Choice, 98

N.J. 295, 298-99, 486 A.2d 833 (1985).      Hence, a charge on a lesser

included offense cannot be given where it would invite the jury to

engage in sheer speculation, see State v. Mendez, 252 N.J. Super.

155, 159, 599 A.2d 565 (App. Div. 1991), certif. denied, 127 N.J.

560 (1992); and a federal court need not determine whether or not

due process required a charge on a lesser included offense in

non-capital cases if the evidence presented at trial clearly

supported the charge that was actually given.19            See Khalif v.

Hendricks, 2005 WL 2397227 *20 (D.N.J. Sep. 28, 2005) (quoting


     19

     Therefore, a habeas petitioner who challenges state jury
instructions must “demonstrate that the jury instructions deprived
him of a defense which federal law provided to him.” Johnson, 117
F.3d at 110. Federal district courts simply do not “sit as super
state supreme courts for the purpose of determining whether jury
instructions were correct under state law with respect to the
elements of an offense and defenses to it.”         Id.; see also
Geschwendt, 967 F.2d at 888-90.

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Kontakis v. Beyer, 19 F.3d 110, 118 (3d Cir. 1994).               The decision

of the trial court not to give certain instructions should be

constitutionally upheld unless “the facts 'clearly indicate' the

appropriateness of” an unrequested charge, since a “trial court

does not . . . have the obligation on its own meticulously to sift

through the entire record in every murder trial to see if some

combination of facts and inferences might rationally sustain a

manslaughter charge.”        Choice, 93 N.J. at 299 (quoting State v.

Mauricio, 117 N.J. 402, 568 A.2d 879 (1990)).

       Finally, the trial court’s decision not to instruct is even

less   likely   to    give   rise   to   a    viable   habeas   claim    than   an

erroneously given instruction.               “An omission, or an incomplete

instruction, is less likely to be prejudicial than a misstatement

of the law."     Kibbe, 431 U.S. at 155.           “The significance of the

omission of such an instruction [should] be evaluated by comparison

with the instructions that were given,” id., in order to establish

whether the omission was but a harmless error.            See Neder, 527 U.S.

at 8-11; Smith, 120 F.3d at 416-17.

       In the case at bar, the state's theory was predicated on

Petitioner acting as the principal offender, Petitioner was tried

alone,    and   the    evidence     presented      overwhelmingly       indicated

Petitioner's culpability as the principal. See State v. Porter, A-

776-00T4 (N.J. Super. App. Div. Oct. 24, 2003); State v. Porter, A-

1244-94T2 (N.J. Super. App. Div. Dec. 5, 1996).                 In view of the


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evidence presented during Petitioner’s criminal trial, this Court

finds that it was entirely proper and reasonable for Petitioner’s

trial   Court    not    to   instruct      Petitioner’s       jury     on   the   lesser

included offenses. Analogously, failure to request instructions on

the    lesser    included       offenses    cannot     render     legal     assistance

constitutionally        ineffective       if    the   trial   evidence        could   not

provide Petitioner’s trial counsel with a rational basis for the

lesser included offense charge, since Petitioner's trial “attorney

cannot have been ineffective for failing to request an instruction

that    was   [effectively]          unavailable”     in   view   of    the    evidence

presented.      Carpenter v. Vaughn, 296 F.3d 138, 153 (3d Cir. 2002).

       Therefore, the actions of Petitioner's trial counsel and

Petitioner's trial court were reasonable with respect to their

decisions not to seek or not provide sua sponte the accomplice

liability charge.        The Court has thoroughly reviewed each of the

claims raised in the Petition and determined that habeas relief is

not warranted.        The Court will therefore dismiss the Petition.



                         Certificate of Appealability

       The    Court    denies    a    certificate     of   appealability          because

Petitioner has not made “a substantial showing of the denial of a

constitutional right” under 28 U.S.C. § 2253(c)2).                      See Miller-El

v. Cockrell, 123 S.Ct. 1029 (2003).




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                               CONCLUSION

     Based on the foregoing, the Court dismisses the Petition for

a Writ of Habeas Corpus and denies a certificate of appealability.




                                  S/Robert B. Kugler
                                  ROBERT B. KUGLER
                                  United States District Judge


Dated: September 12, 2006




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